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                  IN THE UN ITED STATES DISTRICT CO RT
                   FOR THE EASTERN DISTRICT OF TE S
                            SHERMAN DIVISION


VIRGINIA INNOVATION SCIENCES, INC.,

                 Plaintiff,

     V.                                    Civil Action o. 4: l 8-cv-00474-ALM

AMAZON.COM, INC.,

                 Defendant.



             DECLARATION OF KASI CRAWFORD IN SU PORT OF
              MOTION OF DEFENDANT AMAZON.COM, NC. TO
          TRANSFER VENUE TO THE EASTERN DISTRICT OF VIRGINIA
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         I, Kasi Crawford, hereby declare as follows:

         1.     I have personal knowledge of the facts in this declaraf n.

         2.     I am currently a Site Leader for Amazon.com Ser               Inc., a subsidiary of

Amazon.com, Inc. In this role, I am responsible for overseeing oper ions at Amazon fulfillment

centers including those located in 1fexas.

         3.     One of Amazon's fulfillment centers m Texas is ocated at 15201 Heritage

Parkway, Ft. Worth, Texas 76177. This is the only fulfilment center 1 cated in the Eastern District

of Texas.

         4.     This fulfillment center, like other Amazon fulfilment centers, is a warehouse of

goods that can be purchased on www.amazon.com. It is not involved i the design or development

of Amazon Echo, the Alexa voice service, Fire TV, Dash Button, Das Replenishment Service, or

Fire HD Tablets. No employee wi~h knowledge of the design, develop ent, or technical operation

of these products and services works at this fulfillment center or an other fulfillment center in

Texas.    Nor does Amazon maintain any documents or source c de related to the design,

development, or operation of these products and services at this ful 11lment center or any other

fulfillment center in Texas.    This fulfillment center also does not have any employees with

knowledge of financial and marketing information relating to Arna on Echo, the Alexa voice

service, Fire TV, Dash Button, Dash Replenjshment Service, or Fir HD Tablets; and no such

information is maintained or stored there.

         5.     Amazon has three fulfilment centers in the Eastern       istrict of Virginia. Those

centers are located in the towns of,Chester, Petersburg, and Sterling.
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       I declare under penalty of iperjury that the foregoing is tr.~ -"''

Executed on this 1st day of October, 2018.




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